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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

In re:                                                      Case No. 17-12030-RAM
Michael Russel Day                                          Chapter 13
Janice Camille Diana Harris Day

          Debtor.              /

                        MOTION TO DEEM MORTGAGE CURRENT

        COMES NOW the Debtors, Michael Russel Day and Janice Camille Diana Harris Day,

by and through the undersigned counsel, and moves this court to deem mortgage of Creditor

USA BANK TRUST, N.A. serviced by SN Servicing Corporation, as current and would state

as follows:

        1. This case was filed under Chapter 13 on February 20, 2017.

        2. The initial plan was confirmed on July 11, 2017 and is essentially a cure and

              maintain plan of the first mortgage of the Debtors’ homestead property located at

              1620 NE 137th Terrace, North Miami, Florida 33181, Creditor SN Servicing

              Corporation as servicer for USA Bank Trust, N.A. (Hereinafter “SN”), is the holder

              of the first mortgage on the homestead, and is currently receiving payments through

              the Chapter 13 Plan. 1

        3. The Plan has been modified several times, most recently the Fifth Modified Plan,

              which was confirmed on November 15, 2019.

        4. Pursuant to the Fifth Modified Plan, SN is to receive regular monthly mortgage

              payments in the total amount to $76,200.00 and arrears in the amount of $10,586.86.

        5. As of February 17, 2022, the Trustee’s Modification Ledger, attached hereto as

              Exhibit “1,” reflects that SN has received disbursements in full. The last

              disbursement curing the remaining arrearage having occurred on February 17, 2022.



1
 Originally the first Mortgage (Claim No: 2) was held by Wells Fargo Bank, N.A. and was transferred
03/13/2018 to MTGLQ Investors, LP, and then to USA BANK TRUST, N.A. serviced by SN Servicing
Corporation on 09/19/2018.
                                                      1
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       5. The Debtors seeks an order deeming their payments on their first mortgage current

            and determining the first regular monthly payment due, to be paid directly to SN

            by Debtors, to be the payment due March 1, 2022.

       WHEREFORE, the Debtor respectfully requests that this Court enter an Order: (1)

deeming the mortgage current; (2) directing SN Servicing Corporation as Servicer for USA

BANK TRUST, N.A. to accept Debtor’s direct payments; (3) directing SN Servicing

Corporation as Servicer for USA BANK TRUST, N.A. to send monthly statements directly to

Debtor; and any other relief it may determine appropriate.

Dated: February 18,2022.
                                              Matthew Mazur, P.A.
                                              Attorney for the Debtors
                                              2645 Executive Park Drive, Suite 110
                                              Weston, Florida 33331
                                              Telephone: (305) 466-3328
                                              Facsimile: (786) 347-6042

                                       By:    /s/ Matthew E. Mazur, Jr., Esq.
                                              Matthew E. Mazur, Jr., Esq.
                                              FL Bar No. 0144614




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                               CERTIFICATE OF SERVICE


        I hereby certify that I am admitted to the Bar of the United States District Court for
the Southern District of Florida and I am in compliance with he additional qualifications to
practice in this court set forth in Local Rule 2090-1.

       I hereby certify that a copy of the foregoing Motion and Notice of Hearing
subsequently generated by the court after the filing of the instant motion was served in the
manner described below, on February 18, 2022, to the attached Service List.


Dated: February 18,2022.
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                                               Attorney for the Debtors
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                                               Telephone: (305) 466-3328
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                                        By:    /s/ Matthew E. Mazur, Jr.,Esq.
                                               Matthew E. Mazur,Jr.,, Esq.
                                               FL Bar No. 0144614




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                                     SERVICE LIST

                                        VIA ECF

Chase A Berger on behalf of Creditor U.S. Bank Trust National Association as Trustee of
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Kenneth W. Lockwood on behalf of Creditor WELLS FARGO BANK, N.A.
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                         VIA E-MAIL & REGULAR US MAIL

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                EXHIBIT "1"
